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7
8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          CASE NO. CR. S-06-058 FCD
                                   )
12                  Plaintiff,     )
                                   )          STIPULATION TO CONTINUE
13        v.                       )          STATUS CONFERENCE AND
                                   )          EXCLUDE TIME UNDER THE
14   IOSIF CAZA,                   )          SPEEDY TRIAL ACT; PROPOSED
                                   )          ORDER
15                  Defendant.     )
                                   )
16                                 )
                                   )          Date: May 22, 2006
17                                 )          Time: 9:30 A.M.
                                   )          Courtroom: Two
18   _____________________________ )          Hon. Frank C. Damrell
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant IOSIF
21   CAZA and the United States of America, through their respective
22   counsel, that the status conference presently set for May 22,
23   2006, be continued to June 19, 2006, and that time under the
24   Speedy Trial Act should be excluded through June 19, 2006.
25        This case is part of a larger, complex investigation that is
26   ongoing.   The progress of that larger investigation will have
27   some impact on the instant case, and the defense must assess how
28   it will proceed, and whether it wishes to file motions, in light

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1    of the other investigation.      Moreover, the government is in the
2    process of determining whether it will seek a superseding
3    indictment.    To allow for sufficient time for the defense to
4    prepare, for the parties to engage in discussions that might
5    eliminate the need for defense motions and a superseding
6    indictment, and to avoid any waste of judicial resources, the
7    parties stipulate to this continuance and agree that time should
8    be excluded pursuant to Local Code T4.
9          Defendant CAZA, who is not in custody, understands his
10   rights under the Speedy Trial Act, and consents to this
11   continuance.
12   DATED: May 18, 2006                       McGREGOR W. SCOTT
                                               United States Attorney
13
14                                      By: /s/ Camil A. Skipper
                                            CAMIL A. SKIPPER
15                                          Assistant U.S. Attorney
16
17   DATED: May 18, 2006                       /s/ Matthew G. Jacobs
                                               MATTHEW G. JACOBS
18                                             Attorney for IOSIF CAZA
19                                     ORDER
20         1.   The status conference presently set for May 22, 2006,
21   is continued to June 19, 2006, at 9:30 A.M.
22         2.   Based upon the representations of the parties, the
23   Court found that the ends of justice outweighed the best interest
24   of the public and the defendant in a speedy trial and excluded
25   ///
26   ///
27   ///
28   ///

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1    time under the Speedy Trial Act through June 19, 2006.          For the
2    reasons stated in this pleading, the Court finds excludable time
3    through June 19, 2006.
4         IT IS SO ORDERED.
5    Date: May 18, 2006
6                                     /s/ Frank C. Damrell Jr.
                                      FRANK C. DAMRELL, Jr.
7                                     United States District Judge
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